_ Case 2:25-mj-00424-DBR, Document1-2 Filed 04/23/25 -PagelD.10 Page 1of1

Sealed
AO 442 (Rey. 01/09) Arrest Warrant i ZH {17EGI9V9 _

prohibited by court ordar,

UNITED STATES DISTRICT COURT

for the

Southern District of Texas

United States of America )
v. )
) Case No. B-25-CR-257-03
KELLY ANN JENSEN )
Defendant )
ARREST WARRANT RECD USMS BROWNGU dL
To: Any authorized law enforcement officer Mi

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
fname of person to be arrested) KELLY ANN JENSEN

who is accused of an offense or violation based on the following document filed with the court:

Y Indictment 1 Superseding Indictment O Information © Superseding Information | Complaint
O Probation Violation Petition Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:
. a RECD USHS BROWNSVILLE
SEALED INDICTMENT APR 17 2025 pw3:39
NVA

= rece —
Date: Apr 17, 2025 S
Issuingefficer 's signature

City and state: — Brownsville, Texas Maricela Perez, Deputy Clerk
Printed name and title

Return

This warrant was received on (date) . and the person was arrested on (date)

at (city and state)

Date:

Arresting officer’s signature

Printed name and title

